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                12
                                         IN THE UNITED STATES DISTRICT COURT
                13
                                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                15
                        MOEMENT, INC., a Delaware                 Case No. 2:22-cv-02871-WLH (JEMx)
                16      corporation,
                                                                  [Assigned to the Hon. Wesley L. Hsu;
                17                   Plaintiff,                   Courtroom 9B]
                18
                              v.                                  STIPULATION TO EXTEND
                19                                                EXPERT DISCOVERY DEADLINE
                        GROOMORE, INC., a Delaware                TO ALLOW FOR EXPERT
                20      corporation, CHUNLIANG LIN, an            DEPOSITIONS
                        individual, JIE ZHANG, an
                21      individual, and SONGYUN LIU, an           Action Filed: April 29, 2022
                22      individual,                               Current Expert Discovery Deadline:
                                                                  August 14, 2024
                23                   Defendants.                  (Proposed) Expert Discovery Deadline:
                                                                  August 30, 2024
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                        STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE TO ALLOW FOR EXPERT DEPOSITIONS
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                    1         STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE TO
                    2                        ALLOW FOR EXPERT DEPOSITIONS
                    3          On August 5, 2024, Plaintiff Moement, Inc. (“Moement”) and Defendants
                    4   Groomore, Inc. (“Groomore”) and Chunliang Lin (“Lin”) stipulated to partially
                    5   extend the expert discovery deadline from August 14, 2024 to August 30, 2024,
                    6   solely for the parties to accommodate scheduling needs for expert depositions. The
                    7   parties therefore respectfully request the Court approve this stipulation pursuant to
                    8   Fed. R. Civ. P. 29(b) and grant the requested extension. This request is timely
                    9   brought in advance of the calendared deadline.
                10             Good cause exists to extend the expert discovery deadline to allow
                11      approximately two (2) additional weeks for expert depositions to occur. The parties
                12      have been diligently preparing the case for trial in recent months, and have completed
                13      fact discovery on time in early July. Thereafter, on July 31, 2024, the parties timely
                14      exchanged their initial expert disclosures. Moement has designated three (3) experts
                15      that it intends to rely upon at trial, while Defendants have designated one (1) expert
                16      and reserved its right to call rebuttal witnesses to provide expert testimony in
                17      response to Moement’s designated experts.
                18             The parties recognize that scheduling the depositions of four (4) experts in the
                19      approximately nine (9) business days between the initial disclosure date and the fact
                20      discovery cutoff date will be difficult. Several of Moement’s experts, for example,
                21      already have depositions and hearings scheduled or are traveling during that time
                22      period.
                23             Partially extending the expert discovery deadline solely to allow additional
                24      time for expert depositions to be taken will not delay the case from progressing to
                25      trial, and will cause no prejudice to any party.
                26      ///
                27      ///
                28      ///
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                         STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE TO ALLOW FOR EXPERT DEPOSITIONS
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                     1         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                     2

                     3   Dated:       August 5, 2024
                     4   NORTON ROSE FULBRIGHT US LLP
                     5

                     6   /s/ Alex Scandroli
                         Alex Scandroli
                     7

                     8   Attorney for Moement, Inc.
                     9
                         LESOWITZ GEBELIN LLP
                    10

                    11

                    12   /s/ Steven Gebelin
                         Steven Gebelin
                    13   Attorney for Defendants Groomore, Inc. and Chunliang Lin
                    14

                    15
                         Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i), Alex Scandroli
                    16
                         hereby attests that all other signatories listed, and on whose behalf the filing is
                    17
                         submitted, concur in the filing’s content and have authorized the filing.
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                         STIPULATION TO EXTEND EXPERT DISCOVERY DEADLINE TO ALLOW FOR EXPERT DEPOSITIONS
